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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal                              CASE NO.: 9:18-cv-80176-BB
   representative of the Estate of David Kleiman,
   and W&K Info Defense Research, LLC,

                           Plaintiffs,

   v.

   CRAIG WRIGHT,

                           Defendant.

                ORDER ON MOTION TO STRIKE AFFIRMATIVE DEFENSES

         THIS CAUSE is before the Court on Plaintiffs’ Motion to Strike Affirmative Defenses,

  ECF No. [95] (the “Motion”), filed on February 14, 2019. In the Motion, Plaintiffs move to strike

  seven of Defendant Craig Wright’s (“Defendant”) fourteen affirmative defenses to the Second

  Amended Complaint, ECF No. [87] (the “Answer”). Having carefully reviewed the Motion, all

  opposing and supporting materials, the record and the applicable law, and being otherwise fully

  advised, it is hereby:

         ORDERED AND ADJUDGED that the Motion is GRANTED for the reasons set forth

  in the Motion. Defendant’s fifth (release), sixth (payment), seventh (waiver), eighth (estoppel),

  ninth (unclean hands and illegality), eleventh (lack of personal jurisdiction), and twelfth (res

  judicata and collateral estoppel) defenses asserted in the Answer are STRICKEN with prejudice.

         DONE AND ORDERED in Chambers at Miami, Florida, this ___ day of ________, 2019.



                                                      ______________________________
                                                      Judge Beth Bloom
                                                      United States District Judge

  Copies furnished: All counsel of record.
